      Case 2:24-cv-00104-JNP-CMR Document 7 Filed 02/09/24 PageID.67 Page 1 of 1




Kyle F. Reeder Utah Bar: 16554
Cannon Law Group
124 S. 600 E
Salt Lake City, Utah 84102
801-363-2999
kyle@cannonlawgroup.com
Attorney for Plaintiffs

                          THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF UTAH

 Are You Listening Yet PAC, and Tracie
                                                        MOTION FOR PRO HAC VICE
 Halverson,
                                                        ADMISSION
        Plaintiffs,
 v.                                                     Case No. 2:24-cv-00104-JNP

 Deidre Henderson, Lieutenant Governor of the           District Judge Jill N. Parrish
 State of Utah, in her official capacity,

        Defendant.



         I move for the pro hac vice admission of Benjamin Barr (Applicant) as counsel for

 Plaintiffs, and I consent to serve as local counsel. I am an active member of this court’s bar.

        The application and proposed order are attached as exhibits, and the admission fee will

be paid to the court at the time of filing. I certify that I have verified with the Applicant that the

information contained in the application is true and accurate.

 DATED: February 9, 2024




                                                         Signature
